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 1 PHILLIP A. TALBERT
   United States Attorney
 2 STEPHANIE M. STOKMAN
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:20-CR-00238-JLT
11
                                     Plaintiff,          UNITED STATES’ OPPOSITION TO THE
12                                                       DEFENDANT’S MOTION TO SEVER
                                v.
13                                                       DATE: July 15, 2024
     KENNETH BASH,                                       TIME: 10:00 a.m.
14                                                       COURT: Hon. Jennifer L. Thurston
                                     Defendant.
15

16
                                                  I.     INTRODUCTION
17
            The United States files this Opposition to defendant Kenneth Bash’s Motion to Dismiss. ECF
18
     1053. The defendant’s motion to dismiss should be denied because the defendant has failed to
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     demonstrate that he is entitled to such relief. Defendant Bash is an Aryan Brotherhood (AB) associate
20
     working for and directly under AB members in order to gain membership into the AB. As such, Bash
21
     conspired with AB members in order to conduct the affairs of the AB enterprise and to promote and
22
     further that enterprise.
23
                                                   II.   BACKGROUND
24
             Between September 17, 2020 and November 19, 2020, defendant Kenneth Bash and others were
25
     targets of a wiretap investigation conducted by federal and state law enforcement agencies. During the
26
     course of the wiretap, Bash was intercepted communicating over contraband cell phones which
27
     defendant was using while incarcerated at Salinas Valley State Prison. Throughout the two-month
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 1 wiretap, numerous calls and texts were intercepted detailing Bash’s criminal activity for and on behalf of

 2 the Aryan Brotherhood (AB). During these communications, Bash directly communicated with AB

 3 members Todd Morgan, Jayson Weaver, Waylon Pitchford, and others. Bash followed orders from the

 4 AB members, sought approval of activity from AB members, and facilitated criminal activity both

 5 within California state prisons and on the streets of California as elsewhere, in order to advance within

 6 the enterprise.

 7          On November 19, 2020, Bash and others were arrested after the conclusion of the wiretap

 8 investigation. A subsequent Indictment charged Bash and others with drug trafficking and other related

 9 offenses.

10          On May 11, 2023, a grand jury returned a detailed Second Superseding Indictment against the

11 defendant and co-defendants charging them with participating in a RICO conspiracy in violation of 18

12 U.S.C. § 1962(d), and other related charges, in violation of 18 U.S.C. § 1959. ECF 641, 656. The

13 Second Superseding Indictment contains a detailed description of the government’s theory and evidence

14 of the Aryan Brotherhood as a criminal enterprise, including facts about its formation, membership,

15 command structure, codes of conduct, purposes, symbols, and method and means of operation. ECF

16 656, at 2–5. The Second Superseding Indictment also describes defendant’s and co-defendants’ roles

17 and activities within the enterprise. ECF 656, at 5–8. The Second Superseding Indictment additionally

18 contains information regarding the murder of four individuals, and the conspiracy to murder an

19 additional individual, as contained in Counts Two through Six, and drug trafficking related charges

20 stemming from the 2020 wiretap investigation, as contained in Counts Seven through Fourteen. ECF

21 656, at 12-22. Further, the Second Superseding Indictment contains allegations of conduct relating to

22 the furtherance of the Aryan Brotherhood (AB) enterprise and the affairs of the enterprise, detailed

23 within the RICO conspiracy charged in Count One, and also charged in the subsequent counts within the

24 Second Superseding Indictment.

25          On May 2, 2024, defendant Bash filed the instant motion requesting the dismissal of Count One

26 of the Second Superseding Indictment. The motion argues that Bash’s at no time “knowingly agreed to

27 facilitate a scheme which includes the operation or management of a RICO enterprise” or “conspire with

28 AB members to conduct AB affairs in any particular manner”, nor did Bash take part in “any agreement


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 1 by AB members as to how the affairs of the Aryan Brotherhood should be conducted.” Mtn. at 2-4.

 2
                                                    III.   ARGUMENT
 3

 4          Bash is charged with RICO conspiracy as alleged in Count One because he and others committed
 5 a series of acts and transactions conducted in furtherance of Aryan Brotherhood (AB) enterprise activity.

 6 The offenses charged in the Second Superseding Indictment name AB members or associates, working

 7 on behalf of and for the furtherance of the AB.

 8          At the time of the charged offenses, Bash was an incarcerated AB associate who had been
 9 ordering and facilitating criminal activity on the streets throughout areas of California and other states.

10 During the course of the conduct alleged in the Second Superseding Indictment, defendant was working

11 on behalf of the AB in order to gain membership into the AB. He exercised influence over members of

12 white criminal street gangs, such as co-defendant Derek Smith, that associate with the AB, and is closely

13 entwined with the structure and activity of the AB enterprise.

14          Count One of the Second Superseding Indictment charges defendant and co-defendants with
15 conspiring to violate 18 U.S.C. § 1962(c) – conspiring “to conduct and participate, directly and

16 indirectly, in the conduct of the affairs of the Aryan Brotherhood through a pattern of racketeering

17 activity,” in violation of § 1962(d). ECF 656. To prove a violation of § 1962(c), the government must

18 prove four elements:

19                     1. There was an on-going enterprise with some sort of formal or informal
                          framework for carrying out its objectives consisting of a group of
20                        persons associated together for a common purpose of engaging in a
                          course of conduct;
21                     2. The defendant was employed by or associated with the enterprise;
22                     3. The defendant conducted or participated, directly or indirectly, in the
                          conduct of the affairs of the enterprise through a pattern of racketeering
23                        activity. To conduct or participate means that the defendant had to be
                          involved in the operation or management of the enterprise; and
24                     4. The enterprise engaged in or its activities in some way affected
                          commerce between one state and another state.
25
            Ninth Cir. Model Crim. Jury Instr. No. 8.161.
26
            “A RICO conspiracy under § 1962(d) requires only that the defendant was ‘aware of the
27
     essential nature and scope of the enterprise and intended to participate in it.’” United States v.
28


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 1 Christensen, 828 F.3d 763, 780 (9th Cir. 2015) (quoting United States v. Fernandez, 388 F.3d 1199,

 2 1230 (9th Cir. 2004), modified, 425 F.3d 1248 (9th Cir. 2005)). “[T]he point of making the government

 3 show that the defendants ha[d] some knowledge of the nature of the enterprise[ ] is to avoid an unjust

 4 association of the defendant with the crimes of others.” Id. (citation omitted). “Nonetheless, the

 5 definition of a RICO enterprise has wide reach and is to be liberally construed to effectuate its remedial

 6 purposes.” Id. (quotation omitted).1 RICO defines “enterprise” as “any individual, partnership,

 7 corporation, association, or other legal entity, and any union or group of individuals associated in fact

 8 although not a legal entity.” 18 U.S.C. § 1961(4). “An associated-in-fact enterprise is ‘a group of

 9 persons associated together for a common purpose of engaging in a course of conduct.’ ” Christensen,

10 828 F.3d at 780 (quotations omitted).

11           Proof of an overall RICO agreement is drawn from admissions and substantial layers of evidence

12 demonstrating “that the key participants and the method of operation remained constant throughout the

13 conspiracy.” Fernandez, 388 F.3d at 1226.

14           The AB and the individuals, like the defendant, who associate with it for criminal purposes

15 constitute an “enterprise” as defined by § 1961(4). Specifically, defendant was part of a group of people

16 associated in fact, who engaged in, and whose activities affected, interstate commerce.

17           Throughout the course of the wiretap investigation described above, defendant was intercepted in

18 text and calls repeatedly using the term “Brand” to describe the AB enterprise, and referenced drugs or

19 profits from criminal activity defendant was conducting as belonging to “the Brand”. Wiretap

20 interceptions also indicated that defendant was working directly under AB member Todd Morgan, as

21 well as at times for Jayson Weaver and Waylon Pitchford, and various intercepted communications

22 indicated that Bash knew that his membership into the AB was influenced by Morgan, Weaver, and

23 Pitchford. Furthermore, intercepted communication indicated that defendant knew that co-defendants,

24 including Kenneth Johnson, were AB members. Moreover, because defendant knew about Morgan’s

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             1
                     “The RICO net is woven tightly to trap even the smallest fish, those peripherally involved with
26 the enterprise.” United States v. Marino, 277 F.3d 11, 33 (1st Cir. 2002). For example, the Ninth Circuit affirmed
     a RICO conspiracy conviction where the wife of a gang member “collected protection money for the [enterprise]
27 on behalf of her husband,” “passed messages” among enterprise members, “smuggled drugs into prison[,] and
     accepted payment for drugs sold on the street.” Christensen, 828 F.3d at 781 (quoting Fernandez, 388 F.3d at
28 1230).


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 1 and the co-defendants’ status in the AB, interceptions made it clear that defendant understood that the

 2 drugs that he arranged to be trafficked, and the profits gained from other criminal ventures, such as

 3 robberies and fraud, belonged to the enterprise. In such circumstances, a jury can reasonably infer that

 4 defendant “knew, or had reason to know, that [his] benefits were probably dependent upon the success

 5 of the entire operation.” Fernandez, 388 F.3d at 1226.

 6          Wiretap interceptions show that on various occasions, Bash and previous co-defendant Stephanie

 7 Madsen arranged for the transportation and distribution of methamphetamine, which Madsen acquired

 8 and then transferred to individuals working for defendant. Communications between Bash and Smith

 9 discussed the acquisition of heroin and methamphetamine and a plan to throw those drugs over the

10 prison wall at Salinas Valley State Prison, where Bash was housed with Morgan and other AB members.

11 Also intercepted were communications between defendant and AB members Jayson Weaver and Todd

12 Morgan, where defendant expressly discussed drugs and other profits from criminal ventures belonging

13 to the AB, such as describing drugs at various times during the conspiracy as belonging to the “big

14 homies”, referring to AB members.

15          In intercepted text messages on October 14, 2020, defendant asked previous co-defendant Jacob

16 Renshaw where Renshaw and others went after picking up “the rest of the Brand’s dope”, referring to

17 Renshaw picking up methamphetamine to transport it to Montana. Defendant, again, referred to the

18 drugs as belonging to the AB. When the drugs Renshaw and others were transporting were seized by law

19 enforcement, defendant made numerous calls in which he (Bash) expressed the trouble he would be in

20 with the AB because the drugs had been seized before Bash could make money from the sale of those

21 narcotics.

22          Finally, intercepted communications during the course of the wiretap indicate that defendant was

23 working on behalf of the AB in order to gain membership into the enterprise. In a September 24, 2020

24 call, Bash told previous co-defendant Joseph McWilliams that co-defendant Derek Smith is like Bash in

25 that they are both intertwined with “the homies”, and defendant explained that he (Bash) has to remind

26 people that Bash and Smith are acting on behalf of the brothers, referring to the AB. Additionally,

27 multiple intercepted communications between Weaver and defendant discussed defendant becoming an

28 AB member. Also intercepted were calls between Morgan and other known AB members, where


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 1 Morgan discussed on numerous occasions that Morgan was pushing Bash as a member, referring to

 2 making Bash an AB member.

 3           The conduct of defendant during the course of this investigation, as evidenced by

 4 communications intercepted during the wiretap, indicate that Bash “knowingly agreed to facilitate a

 5 scheme which includes the operation or management of a RICO enterprise”, and “conspire[d] with AB

 6 members to conduct AB affairs,” predominantly, the trafficking of narcotics. Moreover, the intercepted

 7 communications indicate that defendant did take part in an “agreement by AB members as to how the

 8 affairs of the Aryan Brotherhood should be conducted” by conducting business on behalf of and for the

 9 benefit of the AB in order to gain membership.

10           Finally, defendant’s motion should be denied because it asks this court to decide questions of

11 fact that should be left to a jury. “A motion to dismiss is generally ‘capabale of determination’ before

12 trial ‘if it involves question of law rather than fact.’ Although the court may make preliminary findings

13 of fact necessary to decide the legal questions presented by [a] motion, the court may not ‘invade the

14 province of the ultimate finder of fact.’” United States v. Nukida, 8 F.3d 665, 669, (9th Cir.) (1993),

15 quoting United States v. Shortt Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir.) (Shortf), cert. denied,

16 478 U.S. 1007, 106 S.Ct. 3301, 92 L.Ed.2d 715 (1986).

17                                                 A. CONCLUSION
18           For the reasons stated above, dismissal is not warranted, and defendant’s motion should be

19 denied.

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21    Dated: May 16, 2024                                    PHILLIP A. TALBERT
                                                             United States Attorney
22

23                                                    By: /s/ STEPHANIE M. STOKMAN
                                                          STEPHANIE M. STOKMAN
24                                                        Assistant United States Attorney
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